Case 4:13-cv-11327-LVP-DRG ECF No. 99 filed 11/24/15                PageID.1347       Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA
ex rel MARIANNE GUZALL, and
MARIANNE GUZALL, individually,

                              Plaintiff,            Civil Action No. 13-11327
                                                    Honorable Linda V. Parker
                                                    Magistrate Judge David R. Grand
v.

CITY OF ROMULUS, ALAN LAMBERT
and BETSY KRAMPITZ,

                        Defendants.
__________________________________/

                   ORDER ON MOTIONS – DOCKET NOS. 81 AND 82

       Before the Court are two motions: (1) Defendants’ Joint Motion to Adjourn Scheduling

Order Dates (Doc. #81); and (2) Plaintiff’s Emergency Motion to Compel, to Extend the

Discovery Cutoff for Plaintiff Only, and for Sanctions (Doc. #82). An Order of Reference was

entered on November 4, 2015, referring these motions to the undersigned for a hearing and

determination pursuant to 28 U.S.C. §636(b)(1)(A). (Doc. #83). A hearing was held on these

motions on November 23, 2015.

       For the reasons set forth on the record:

       (1) The Court GRANTS IN PART and DENIES IN PART Defendants’ Joint Motion to

Adjourn Scheduling Order Dates (Doc. #81). Specifically, the Court GRANTS Defendants’

motion to the extent it seeks an extension of all remaining dates in this case; however, the Court

believes that a sixty (60) day extension (as opposed to the ninety (90) day extension requested

by Defendants) is appropriate. An amended scheduling order will be issued by the Court

reflecting these new dates. In all other respects, this motion is DENIED.
Case 4:13-cv-11327-LVP-DRG ECF No. 99 filed 11/24/15                 PageID.1348       Page 2 of 2



       (2) The Court DENIES Plaintiff’s Emergency Motion to Compel, to Extend the

Discovery Cutoff for Plaintiff Only, and for Sanctions (Doc. #82).

       SO ORDERED.

Dated: November 24, 2015                             s/David R. Grand
Ann Arbor, Michigan                                  DAVID R. GRAND
                                                     United States Magistrate Judge


                   NOTICE TO PARTIES REGARDING OBJECTIONS

       The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
fourteen (14) days from the date of receipt of a copy of this order within which to file objections
for consideration by the district judge under 28 U.S. C. §636(b)(1).


                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on November 24, 2015.


                                                     s/Eddrey O. Butts
                                                     EDDREY O. BUTTS
                                                     Case Manager




                                                2
